     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1208 Page 1 of 12




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 6
                          UNITED STATES DISTRICT COURT
 7
                        SOUTHERN DISTRICT OF CALIFORNIA
 8
                                          Case No. 20CR2887-WQH
 9 UNITED STATES OF AMERICA,
                                          UNITED STATES’ RESPONSE TO
10                                        DEFENDANTS’ MOTIONS IN LIMINE
                                          TO:
11                                        1. Sever Defendants for Trial [171-1]
           v.
12                                        2. Submit Forfeiture to Jury [171-2]
                                          3. Exclude 404(b) / Bad Acts [171-3, 172-2]
13                                        4. Exclude Expert Testimony [171-4, 172-3];
14                                        5. Dismiss under the Speedy Trial Clause [171-
    ANTHONY DUANE BELL, SR (1),                5];
15                                        6. For Joinder [171-6, 172-9];
    ANTHONY DUANE BELL, JR (2),
16                                        7. Sever Charges for Bell JR [172-1]
                 Defendants.              8. Allow Attorney Voir Dire [172-4];
17                                        9. Exclude Indictment [172-5];
18                                        10. Exclude Evidence of Financial Condition
                                               [172-6];
19                                        11. For Preliminary Jury Instruction Conference
20                                             [172-7]; and
                                          12. Allow Question-by-Question Evidentiary
21                                             Objections [172-7].
22
                                          Date: June 7, 2023
23                                        Time: 1:30 p.m.
24
25        The United States of America requests that the Court deny the motions in limine

26 filed by Anthony Duane Bell, Sr. (“Bell SR”) and Anthony Duane Bell, Jr. (“Bell JR”),
27 except where unopposed, as discussed below.
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     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1209 Page 2 of 12




 1                                                   I
 2                   RESPONSE TO DEFENDANTS’ MOTIONS IN LIMINE
 3      1.    DEFENDANTS ARE PROPERLY JOINED FOR TRIAL AND BRUTON
 4            DOES NOT REQUIRE SEVERANCE
 5           Bell SR argues that the Court should sever trial of the two defendants, arguing that
 6 if the prosecution introduces Bell JR’s April 9, 2019 false statements at trial, and Bell JR
 7 chooses not to take the stand, then Bell SR will be deprived of his constitutional right to
 8 cross-examination in violation of Bruton v. United States, 391 U.S. 123, 126 (1968).
 9           Bell SR is wrong for two independent reasons. First, even if Bell JR’s statements
10 are testimonial, they are not being offered for the truth. Second, Bell JR’s statements lack
11 inculpatory value without additional evidence.
12           “It is well-established that in the federal system there is a preference for joint trials
13 where defendants have been jointly indicted.” United States v. Hernandez-Orellana, 539
14 F.3d 994, 1001 (9th Cir. 2008). Under Rule 14 of the Federal Rules of Criminal Procedure,
15 “[t]he burden is on the defendant to show ‘clear,’ ‘manifest,’ or ‘undue’ prejudice from a
16 joint trial.” United States v. Mikhel, 889 F.3d 1003, 1046 (9th Cir. 2018) (quoting United
17 States v. Polizzi, 801 F.2d 1543, 1553-54 (9th Cir. 1986)). “[W]hen defendants have been
18 properly joined under Rule 8(b), a district court should grant a severance under Rule 14
19 only if there is a serious risk that a joint trial would compromise a specific trial right of one
20 of the defendants, or prevent the jury from making a reliable judgment about guilt or
21 innocence.” Zafiro v. United States, 506 U.S. 534, 539 (1993).
22           As held by this Court on May 24, 2023, the Bells’ statements to agents on April 9,
23 2019 to agents were non-custodial. Dkt. No. 177, p.13 (“[b]ased upon the relevant caselaw
24 and the totality of the circumstances, the interview of each Defendant was not custodial.”).
25 Among other statements, Bell JR falsely stated to agents during his April 9, 2019 interview
26 the following: Bell JR had “never heard of” the company that Bell SR and Charles Burruss
27 allegedly ran together and where Bell JR allegedly had worked (Count 32); Bell SR had
28 never worked at a DME company before UMS (Count 33); Bell SR and Bell JR had started

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                                                                                         20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1210 Page 3 of 12




 1 UMS “from the ground up” (Count 34); and Bell JR ran the “day to day operations” at
 2 UMS (Count 35).
 3         Bell SR asserts that Bell JR’s April 9, 2019 statements were testimonial. But that is
 4 only part of the Confrontation Clause analysis. In Crawford v. Washington, 541 U.S. 36,
 5 53-54, 59-60 n.9 (2004), the Supreme Court held that the Confrontation Clause bars
 6 “admission of testimonial statements of a witness who did not appear at trial” if the
 7 statements are offered to “establish[] the truth of the matter asserted,” unless the witness is
 8 unavailable and the defendant has had a prior opportunity for cross-examination. It is
 9 debatable whether Bell JR’s statements were testimonial since Bell SR has failed to show
10 that the primary purpose of the agents’ interview was to gather testimony for a criminal
11 prosecution. See Davis v. Washington and Hammon v. Indiana, 547 U.S. 813, 822 (2006)
12 (holding that statements made in the course of questioning by law enforcement “are
13 testimonial when the circumstances objectively indicate that there is no . . . ongoing
14 emergency, and that the primary purpose of the interrogation is to establish or prove past
15 events potentially relevant to later criminal prosecution.”). Nevertheless, it is clear that
16 Bell JR’s statements are not being offered for their truth.           As cited in Crawford,
17 “‘Testimony’ … is typically ‘a solemn declaration or affirmation made for the purpose of
18 establishing or proving some fact.’” Crawford, 541 U.S. at 51 (citation omitted). On the
19 contrary, Bell JR’s statements were false and he is being prosecuted for those false
20 statements. Thus, introducing Bell JR’s false statements would not violate the
21 Confrontation Clause.
22         Further, Bell JR’s false statements sought to exculpate the Bells. As explained in
23 United States v. Mikhel, 889 F.3d 1003, 1044 (9th Cir. 2018), the Supreme Court “held that
24 there is no Confrontation Clause violation if the codefendant’s confession must be linked
25 to other evidence to incriminate the defendant.” “Bruton does not require that all
26 extrajudicial statements or confessions not be used in a joint trial. Rather, only those
27 statements that ‘clearly inculpate’ the defendant or are ‘powerfully incriminating’
28 implicate the ‘Bruton rule.’” Id. at 1045 (citation omitted). Bell JR’s false statements

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                                                                                     20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1211 Page 4 of 12




 1 tended to minimize Bell SR’s (and his own) role in any crimes. Additional evidence is
 2 required to prove that Bell SR was involved in the criminal scheme. Thus, the introduction
 3 of Bell JR’s statements would be consistent with the Bruton rule and the trial need not be
 4 severed.
 5      2.    FORFEITURE           WILL       BE     SUBMITTED           TO     JURY       BY      A
 6            PREPONDERANCE
 7           Defendants incorrectly contend that Apprendi v. New Jersey, 530 U.S. 466 (2000)
 8 and Southern Union Co. v. United States, 567 U.S. 343 (2012) require the forfeiture
 9 allegations to be proved to a jury beyond a reasonable doubt. Dkt. No. 171, p.8. To the
10 contrary, courts have uniformly held that these cases do not apply to criminal forfeiture,
11 because there no statutory maximum for forfeiture. See United States v. Bradley, 969 F.3d
12 585 (6th Cir. 2020) (there is no constitutional right to a jury determination of forfeiture);
13 United States v. Eggleston, 823 F. App'x. 340, 348 (6th Cir. 2020) (court held that Apprendi
14 and Southern Union are inapplicable to forfeitures because “(1) forfeiture is not a fine and
15 (2) there is no maximum for forfeitures.”); United States v. Lo, 839 F.3d 777 (9th Cir.
16 2016) (the right to a jury verdict on forfeitability does not fall within Sixth Amendment
17 protections and does not violate Apprendi); United States v. Stevenson, 834 F.3d 80 (2d
18 Cir. 2016) (determinate sentencing schemes are meaningfully different than those
19 establishing the amount of forfeiture and there is no right to a jury trial under Sixth
20 Amendment); United States v. Sigillito, 759 F.3d 913, 935-36 (8th Cir. 2014) (collecting
21 cases and holding that Southern Union does not apply to criminal forfeiture); United States
22 v. Simpson, 741 F.3d 539, 560 (5th Cir. 2014) (because criminal forfeitures are
23 “indeterminate and open-ended,” there is no statutory maximum that would be exceeded
24 by any factfinding by the judge, so Apprendi and Southern Union do not apply).
25           Although there is no constitutional right to a jury trial on forfeiture, Rule 32.2(b)(5)
26 of the Federal Rules of Criminal Procedure provides that either party may request a jury
27 trial to determine the forfeitability of specific property, if the jurors return a verdict of
28 guilty. Fed. R. Crim. P. 32.2(b)(5). During such a proceeding, the United States must

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                                                                                        20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1212 Page 5 of 12




 1 show by a preponderance of the evidence that the specific property is forfeitable as property
 2 that constitutes or is derived, directly or indirectly, from process proceeds traceable to the
 3 offense. See United States v. Kanakeswaran, ---F. App’x.---, No. 19-50016, 2020 WL
 4 6075746, *2 (9th Cir. Oct. 15, 2020) (“Because forfeiture is essentially a sentencing
 5 enhancement, the government bears the burden of proving the amount subject to forfeiture
 6 by a preponderance of the evidence.”); United States v. Garcia-Guizar, 160 F.3d 511, 518
 7 (9th Cir. 1998) (preponderance standard is constitutional because criminal forfeiture is not
 8 a separate offense, but only an additional penalty for an offense that was established beyond
 9 a reasonable doubt).
10           Here, the indictment alleges that three items of specific property are subject to
11 forfeiture:
12      a. $536,422.59 in funds from Wells Fargo Account # 6278570285, in the name of
13           Universal Medical Solutions LLC;
14      b. $269,952.56 in funds from Wells Fargo account # 6278570293, in the name of
15           Universal Medical Solutions LLC; and
16      c. Real property located at 5034 Bluff Place, El Cajon, California 92020.
17           By their motion, Defendants have requested a jury determination, which is consistent
18 with Rule 32.2(b)(5). Accordingly, the United States shall present evidence that those
19 specific properties are subject to forfeiture, and will submit separate forfeiture jury
20 instructions.
21      3.    OTHER        ACT      EVIDENCE           SHOULD      BE     PERMITTED          AS
22            INEXTRICABLY INTERTWINED OR UNDER RULE 404(b)
23           For the reasons set forth in the United States’ motions in limine, the Court should
24 admit evidence of: (1) Defendants’ involvement in genetic testing as inextricably
25 intertwined with the charged offenses; and (2) Bell JR’s Payroll Protection Program
26 (“PPP”) loan fraud under Rule 404(b).
27           While Bell JR’s false statements in the PPP loans were made after the charged
28 conduct, the existing exceptions to Rule 404(b)’s general bar against the admission of

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                                                                                    20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1213 Page 6 of 12




 1 propensity evidence allow for the introduction of both prior and subsequent bad acts
 2 evidence. See, e.g., United States v. Hinostroza, 297 F.3d 924, 928 (9th Cir. 2002) (“Our
 3 precedent has squarely resolved in the government’s favor the issue that subsequent Rule
 4 404(b) evidence may be relevant and admissible.”) (citing United States v. Bibo-Rodriguez,
 5 922 F.2d 1398, 1400 (9th Cir. 1991) (“By its very terms, 404(b) does not distinguish
 6 between ‘prior’ and ‘subsequent’ acts.”); see also, e.g., United States v. Mohr, 318 F.3d
 7 613, 617 (4th Cir. 2003); United States v. Anifowoshe, 307 F.3d 643, 646-47 (7th Cir.
 8 2002); United States v. Germosen, 139 F.3d 120, 128 (2d Cir. 1998); United States v. Jones,
 9 145 F.3d 959, 964 (8th Cir. 1998); United States v. Latney, 323 U.S. App. D.C. 417, 108
10 F.3d 1446, 1449 (D.C. Cir. 1997); United States v. Delgado, 56 F.3d 1357, 1364-65 (11th
11 Cir. 1995); United States v. Osum, 943 F.2d 1394, 1404 n.7 (5th Cir. 1991).
12        In Hinostroza, 297 F.3d at 928, the Ninth Circuit held that “[w]ith respect to the false
13 statements counts, the subsequent acts [namely, uncharged false statements] show intent,
14 perhaps a common plan to gather more firearms, and an absence of mistake or accident.”
15 Here, the United States is seeking to introduce Bell JR’s false PPP application statements
16 to a federal agency to show intent, a common plan, and lack of mistake regarding his false
17 statements to Medicare and federal agents. Specifically, in the PPP applications dated
18 April 17 and 21, 2021, Bell JR was asked if he was under indictment:
19        Is the Applicant (if an individual) or any owner of the Applicant presently
          incarcerated or, for any felony, presently subject to an indictment, criminal
20        information, arraignment, or other means by which formal criminal charges
          are brought in any jurisdiction?
21        Initial here to confirm your response to question 5 →
22 Despite being indicted in this case on September 25, 2020, Bell JR checked, “No” and
23 initialed to confirm his response. Bell JR signed the PPP applications certifying the truth
24 of his statements and acknowledging that he could be prosecuted for making false
25 statements under 18 U.S.C. § 1001:
26        I further certify that the information provided in this application and the
          information provided in all supporting documents and forms is true and
27        accurate in all material respects. I understand that knowingly making a false
          statement to obtain a guaranteed loan from SBA is punishable under the law,
28        including under 18 U.S.C. 1001 . . .

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                                                                                     20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1214 Page 7 of 12




 1 The Court should admit the evidence in the United States’ case-in-chief.
 2      4.    EXPERT TESTIMONY SHOULD BE PERMITTED
 3           For the reasons set forth in the United States’ motions in limine, the testimony of
 4 Stephen Quindoza should be permitted. Timely notice of his testimony was supplied to
 5 Defendants on December 1, 2022 to prior counsel, and again to current counsel on January
 6 30, 2023. That notice included all information necessary to comply with the expert witness
 7 disclosures set forth in Rule 16(1)(G). See Dkt. No. 173-1 (witness disclosure letter).
 8      5.    DEFENDANTS’ TRIAL COMPORTS WITH SPEEDY TRIAL CLAUSE
 9           Defendants initially moved to dismiss based upon an alleged Sixth Amendment
10 Speedy Trial Clause violation due to continuances caused by the pandemic. As Defendants
11 now concede, Dkt. No. 179, p. 1-2, the basis for their motion was rejected by the Ninth
12 Circuit earlier today in United States v. Walker, Nos. 21-10364, 21-10365, at *25 (9th Cir.
13 May 30, 2023). See also United States v. Orozco-Baron, No. 21-50298 (9th Cir. May 22,
14 2023) (rejecting claims based upon the Speedy Trial Act); United States v. Olsen, 21 F.4th
15 1036 (9th Cir. 2022) (per curium) (same).
16      6.    DEFENDANTS MAY JOIN CO-DEFENDANT’S MOTIONS
17           The United States does not object to each defendant joining in his co-defendant’s
18 motions, where applicable.
19      7.    BELL JR IS PROPERLY CHARGED WITH FRAUD AND FALSE
20            STATEMENTS
21           Bell JR has failed to meet the high burden to show that the false statement counts
22 against him (32-35) are “so manifestly prejudicial” that the Court must sever them for trial
23 from the charges of conspiracy, health care fraud, and kickbacks against him and his father.
24           Generally speaking, multiple offenses may be joined in the same indictment if they
25 are: of the same or similar character; based upon the same act or transaction; or are in some
26 way connected together or part of a common scheme or plan. Fed. R. Crim. P. 8(a). This
27 rule is “generously construed in favor of joinder.” United States v. Randazzo, 80 F.3d 623,
28 627 (1st Cir. 1996).

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                                                                                    20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1215 Page 8 of 12




 1         A court may order separate trials of properly joined offenses if the joinder “appears
 2 to prejudice a defendant or the government.” Fed. R. Crim. P. 14(a). Because Rule 14(a)
 3 is permissive in nature, the decision of “[w]hether severance is necessary is within the
 4 sound discretion of the district court.” United States v. Van Cauwenberghe, 827 F.2d 424,
 5 431 (9th Cir. 1987), cert. denied, 484 U.S. 1042 (1988) (citing United States v. Ramirez,
 6 710 F.2d 535, 545 (9th Cir.1983)). In this context, joinder is the rule rather than the
 7 exception. Thus, the party seeking severance bears a burden on appeal “to show that
 8 joinder was so manifestly prejudicial that it outweighed the dominant concern with judicial
 9 economy and compelled exercise of the court’s discretion to sever.” United States v.
10 Armstrong, 621 F.2d 951, 954 (9th Cir.1980).
11         The prejudice must be of such magnitude that the defendant’s right to a fair trial is
12 abridged.    United States v. Lewis, 787 F.2d 1318, 1321 (9th Cir.1986). Where the
13 defendant’s argument for severance is based on his desire to testify about less than all of
14 the charges, he “must show that he has important testimony to give on some counts and a
15 strong need to refrain from testifying on those he wants severed.” United States v.
16 DiCesare, 765 F.2d 890, 898 (9th Cir.), amended, 777 F.2d 543 (9th Cir. 1985) (citation
17 omitted). Further, he must point to “specific reasons for not testifying about [the other
18 counts].” Id. (quoting United States v. Bronco, 597 F.2d 1300, 1303 (9th Cir.1979)). See
19 United States v. Matthews, 848 F.2d 1243 (9th Cir. 1988).
20         To meet this standard, a defendant must “present enough information—regarding
21 the nature of the testimony he wishes to give on one count and his reasons for not wishing
22 to testify on the other—to satisfy the court that the claim of prejudice is genuine,” as well
23 as “to enable [the court to] intelligently to weigh the considerations of economy and
24 expedition in judicial administration against the defendant's interest in having a free choice
25 with respect to testifying.” United States v. Monteiro, 871 F.3d 99, 108 (1st Cir. 2017).
26         In his motion, Bell JR has merely suggested that “the tensions between the [fraud
27 and false statement] aspects of the case ha[ve] raised the serious concern that testimony as
28 to one might be warranted but not the others.” Dkt. No. 172, p. 3. This glancing reference

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                                                                                    20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1216 Page 9 of 12




 1 is insufficient to show “that he has important testimony to give on some counts and a strong
 2 need to refrain from testifying on those he wants severed.” DeCesare, 765 F.2d at 898.
 3           Moreover, although it remains Bell JR’s burden to identify the prejudice, there does
 4 not seem to be any obvious “strong need to refrain from testifying” on one set of charges
 5 or the other. Bell JR has suggested that both Defendants’ defense “will be that that they
 6 did not knowingly violate the Medicare kickback rules and that they were acting in good
 7 faith.” Dkt. No. 172, p. 3. He does not suggest that he wishes to admit to some of the
 8 charges, but contest others. If he wishes to testify in defense of his false statement charges,
 9 he can certainly testify that his statements were truthful — that he was the owner of UMS,
10 that he did run the day-to-day operations of UMS, that he and his father built the company
11 from the ground up — and that in running the company he was acting in good faith and
12 was not knowingly paying unlawful kickbacks. If he wishes to testify in defense of the
13 kickback and health care fraud charges, he can similarly explain that he worked at UMS in
14 good faith. Nothing about the nature of the charges against him requires that testimony as
15 to one set of charges against him would be necessarily prejudicial against any other.
16           On the other hand, the witnesses and documentary evidence would be largely
17 overlapping if separate trials were conducted for the Medicare fraud and the false
18 statements charges.       The same witnesses and documents needed to prove the fraud
19 allegations would also be necessary to show Bell JR’s knowledge of PA Healthcare, his
20 minimal involvement in the “day to day” operations of UMS, and the close association of
21 Bell JR and his father with Burruss, who supplied the funds to start up UMS and remained
22 an investor in Bell JR’s company.
23           The strong interest in judicial economy, and the need for responsible stewardship
24 over the resources of the jury, Court, and appointed counsel, strongly weigh against
25 severance.
26      8.    ATTORNEY VOIR DIRE SHOULD BE PERMITTED
27           If the Court permits it, counsel for the United States respectfully requests time to
28 conduct its own limited voir dire of the potential jurors.

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                                                                                     20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1217 Page 10 of 12




 1           However, the Court should preclude Defendant from referencing that they are
 2 represented by court appointed counsel. While not addressed in the Ninth Circuit, there
 3 are numerous reported cases in which this issue was raised as a claim of ineffective
 4 assistance of counsel. In each of these cases, counsel’s comments were held to be error.
 5 See Thompson v. Haley, 255 F.3d 1292, 1304 (11th Cir. 1982) (“We reiterate that a lawyer
 6 does not service his or her client by telling the jury that they have been court appointed.”);
 7 see also Goodwin v. Balkcom, 684 F.2d 794, 805-06 (11th Cir. 1982).
 8      9.    COURT MAY SEND INDICTMENT TO JURY ROOM
 9           As reflected in the comment to Ninth Circuit Model Jury Instruction 6.2, “The trial
10 judge has wide discretion as to whether the jury should be provided with a copy of the
11 indictment for use during jury deliberations. The Ninth Circuit has said that when a district
12 judge permits the jury to have a copy of the indictment, the court should caution the jury
13 that the indictment is not evidence.” Model Jury Instruction 6.2, Comment (citing United
14 States v. Utz, 886 F.2d 1148, 1151-52 (9th Cir. 1989) (per curiam) (permissible to give
15 each juror a copy of indictment if judge cautions jury that indictment is not evidence)).
16           The United States defers to the Court’s typical practice when it comes to sending the
17 indictment to the jury room.
18      10. EVIDENCE OF FINANCIAL CONDITION IS RELEVANT
19           Defendants move to exclude evidence of poverty or poor financial condition. Dkt.
20 No. 172, p. 11. But Bell SR and Bell JR did not live in poverty – far from it. Instead, there
21 is relevant evidence in the record that: (1) Bell SR expected the DME company he had
22 opened in Memphis to receive $2 million from Medicare for DME claims; (2) Bell JR
23 wanted $1 million in his bank account; (3) Bell JR took $300,000 out of UMS’s bank
24 account to buy a Bentley for Bell SR’s birthday, which was supposed to have been saved
25 in case Medicare tried to claw-back wrongly-paid DME claims; (4) Bell SR said he wanted
26 to expand his business because he wanted to purchase two houses, one costing $3 million
27 and another costing $2.5 million (“these are the things I f---ing gotta have,” he told a
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                                                                                     20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1218 Page 11 of 12




 1 cooperator); and (5) at least $549,000 in Medicare proceeds were used to purchase Bell
 2 SR’s $2.4 million house in El Cajon.
 3         “Wealth evidence, unlike poverty evidence, does not entail the same risk of unfair
 4 prejudice.” United States v. Flores, 510 F. App'x 594, 595 (9th Cir. 2013). As with
 5 evidence of poverty, evidence of wealth or lavish lifestyle is not admissible standing alone
 6 but may be admissible to prove motive, knowledge, or intent. See United States v.
 7 Weygandt, 681 F. App'x 630, 633 (9th Cir. 2017) (evidence of wealth admissible to show
 8 defendant could have purchased necessary equipment but chose not to in order to enhance
 9 wealth); United States v. Reyes, 660 F.3d 454, 464 (9th Cir. 2011) (evidence of gains from
10 stock option backdating is admissible to permit “jury to draw a reasonable inference that
11 [defendant] knew what he was doing”). As a trial court recently explained,
         As in Reyes, each time [Elizabeth] Holmes made an extravagant purchase, it
12
         is reasonable to infer that she knew her fraudulent activity allowed her to pay
13       for those items… While the benefits of these purchases are not as directly tied
14       to the fraud as backdating stocks was in Reyes, it may still be probative of
         Holmes's scienter. Therefore, this evidence passes the minimal threshold for
15       relevance.
16 United States v. Holmes, No. 5:18-CR-00258-EJD-1, 2021 WL 2044470, at *4 (N.D. Cal.
17 May 22, 2021) (citing Reyes, 660 F.3d 464).
18         To be sure, the jury will hear — at Defendants’ request — evidence of the amount
19 they earned from the DME business, and at least one example of how they spent those
20 proceeds (purchase of Bell SR’s house), as part of their request for jury adjudication of the
21 forfeiture allegations. And here, there is not merely a reasonable inference to be drawn, as
22 in Reyes and Holmes, but direct evidence of the connection between the luxuries
23 Defendants desired and the money they procured from defrauding Medicare. They asked
24 to buy more D.O.’s from the cooperator, in order to make more money -- to reach $1 million
25 in the bank account or buy fancy houses. They had a spat with Burruss because they spent
26 money on the Bentley that was supposed to be reserved to protect the business from
27 recoupment by Medicare.
28

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                                                                                   20CR2887-WQH
     Case 3:20-cr-02887-WQH Document 180 Filed 05/30/23 PageID.1219 Page 12 of 12




 1         The evidence that Defendants wanted to submit more DME claims to Medicare, to
 2 make more money, passes the minimal threshold for relevance and should be admitted.
 3      11. PRELIMINARY JURY INSTRUCTION CONFERENCE SHOULD BE
 4          HELD
 5         The United States agrees and anticipates that the Court will give some preliminary
 6 instructions to the jury. The United States will submit proposed jury instructions in
 7 accordance with chambers rules.
 8      12. EVIDENTIARY OBJECTIONS SHOULD BE PERMITTED DURING
 9          TRIAL
10         The United States agrees that evidentiary disputes may arise prior to and during trial,
11 and should be considered and ruled upon as soon as they are raised, in the ordinary course.
12                                                II
13                                        CONCLUSION
14         For the reasons stated above, the United States respectfully requests that this Court
15 deny Defendants’ motions in limine except where unopposed.
16         DATED: May 30, 2023.
17                                                 Respectfully submitted,
18                                                 RANDY S. GROSSMAN
                                                   United States Attorney
19
                                                   /s/ Christopher Alexander
20                                                 CHRISTOPHER ALEXANDER
                                                   Assistant U.S. Attorney
21
22                                                 /s/ Valerie H. Chu
                                                   VALERIE H. CHU
23                                                 Assistant U.S. Attorney
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